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                 UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF FLORIDA
                        TAMPA DIVISION


 M.H. and J.H.,
                                            Case No. 8:21–cv–814–VMC–TGW
 on behalf of their minor child C.H.,

                              Plaintiffs,
                                                  NOTICE OF APPEAL
            v.

 OMEGLE.COM, LLC,

                              Defendant.



      Notice is hereby given that the Plaintiffs in the above–named

case, M.H. and J.H. on behalf of their minor child C.H., by and through

counsel, hereby appeal to the United States Court of Appeals for the

Eleventh Circuit from the Order of this Court entered in this action on

January 10, 2022 (Document 90).

Dated this 28th day of January 2022.




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                      CERTIFICATE OF SERVICE

      I hereby certify that on January 28, 2022, I caused a copy of

Plaintiffs’ Notice of Appeal to be served upon counsel of record for the

Defendant via email and the Court’s ECF system.


                                                 /s/ Margaret E. Mabie



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